  Case 3:23-cv-22130-MCR-ZCB       Document 155-1     Filed 03/14/25   Page 1 of 7




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            PENSACOLA DIVISION
 ALLIANCE LAUNDRY SYSTEMS LLC,

               Plaintiff,
                                                     Case No. 23-cv-22130 (MCR)
       v.

 TRUDY ADAMS, JOHN “CLAY” WILLIAMS
 and AUTARKIC HOLDINGS, INC. D/B/A
 LAUNDRYLUX,

               Defendants.


 TRUDY ADAMS, JOHN “CLAY” WILLIAMS, DECLARATION OF DAVID
                                              WATNICK IN SUPPORT
          Defendants/Counterclaim Plaintiffs, OF DEFENDANTS’
                                              MOTION TO STRIKE
     v.
                                              EXPERT DECLARATION
 ALLIANCE LAUNDRY SYSTEMS LLC,                OF MARK LANTERMAN
                                              AND EXCLUDE
          Plaintiff/Counterclaim Defendant/ LANTERMAN’S
          Third Party Defendant.              TESTIMONY




      I, David Watnick, an attorney duly admitted to practice in the State of Oregon

and pro hac vice in the District Court for the Northern District of Florida, declare

under penalty of perjury and pursuant to 28 U.S.C. § 1746, that the following is true

and correct:

      1.       I am a counsel at the firm Perkins Coie LLP, counsel for Defendant

Autarkic Holdings, Inc. d/b/a Laundrylux (“Laundrylux”) in the above-captioned


                                         1
  Case 3:23-cv-22130-MCR-ZCB         Document 155-1   Filed 03/14/25   Page 2 of 7




matter. I am familiar with the facts and circumstances of this action. I make this

declaration in support of Laundrylux’s Motion to Strike Expert Declaration of Mark

Lanterman and Exclude Lanterman’s Testimony.

      2.     In support of Laundrylux’s Motion to Strike the Expert Declaration of

Mark Lanterman and Exclude Lanterman’s Testimony, annexed hereto are true and

correct copies of the exhibits identified therein.

      3.     Attached as Exhibit 1 is the sworn Expert Declaration of Mark

Lanterman, disclosed on June 21, 2024. On the afternoon of March 14, 2025,

Alliance designated certain materials reflected in Exhibit 1 as “Highly Confidential

– Attorneys’ Eyes Only.” Those materials have been redacted and withheld from the

publicly filed copy of Exhibit 1; an unredacted copy of the exhibit will be submitted

under seal. Laundrylux reserves the right to challenge Alliance’s designations.

      4.     Attached as Exhibit 2 is the sworn Amended Expert Declaration of

Mark Lanterman, disclosed on January 10, 2025. On the afternoon of March 14,

2025, Alliance designated certain materials reflected in Exhibit 2 as “Highly

Confidential – Attorneys’ Eyes Only.” Those materials have been redacted and

withheld from the publicly filed copy of Exhibit 2; an unredacted copy of the exhibit

will be submitted under seal. Laundrylux reserves the right to challenge Alliance’s

designations.




                                           2
  Case 3:23-cv-22130-MCR-ZCB         Document 155-1     Filed 03/14/25    Page 3 of 7




      5.     Attached as Exhibit 3 are relevant excerpts of the transcribed

videotaped sworn Deposition of Mark Lanterman, taken on February 11, 2025, via

Zoom. Plaintiff Alliance has designated the entire deposition transcript

“CONFIDENTIAL” under the Protective Order on file in this matter, Dkt. 33.

Accordingly, Laundrylux is filing the transcript excerpts under seal, filing its Motion

to Strike under seal, and redacting quotations of the transcript from the publicly filed

copy of its Motion. Laundrylux disagrees that any portion of the transcript merits

“CONFIDENTIAL” designation or sealing and intends to challenge Alliance’s

designations and/or oppose any motion by Alliance to keep the transcript under seal.

      6.     Attached as Exhibit 4 are Alliance’s Reponses to Laundrylux’s

Request for Production of Documents, dated January 27, 2025.

      7.     Attached as Exhibit 5 is an article from the New York Times regarding

Upsala College, titled After a Century, Upsala Will Close Without Cash Rescue,

dated March 3, 1995.

      8.     Attached as Exhibit 6 is an article from the New York Times regarding

Upsala College, titled In Brief; The Doors Are Closed At Upsala College, dated June

4, 1995.

      9.     Attached as Exhibit 7 is the Felician University webpage regarding

Upsala College Transcripts, available at https://felician.edu/academics/office-of-

the-registrar/upsala-transcripts/.



                                           3
  Case 3:23-cv-22130-MCR-ZCB        Document 155-1    Filed 03/14/25   Page 4 of 7




      10.    Attached as Exhibit 8 is an email chain ending January 16, 2025,

between the Felician University’s registrar’s office to Perkins Coie LLP regarding a

request for Mark Lanterman purported college transcripts.

      11.    Attached as Exhibit 9 is a February 15, 2006, article from the

Minneapolis Star Tribune titled Electronic sleuth turns spicy bytes into business

feast; A tech-savvy former police officer’s firm specializes in gathering electronic

data for evidence in court cases.

      12.    Attached as Exhibit 10 is a copy of Upsala University’s 1987 Upsalite

yearbook, accessed and copied by Perkins Coie LLP staff at the East Orange Public

Library located in East Orange, New Jersey.

      13.    Attached as Exhibit 11 is a copy of Upsala University’s 1988 Upsalite

yearbook, accessed and copied by Perkins Coie LLP staff at the East Orange Public

Library located in East Orange, New Jersey.

      14.    Attached as Exhibit 12 is a copy of Upsala University’s 1989 Upsalite

yearbook, accessed and copied by Perkins Coie LLP staff at the East Orange Public

Library located in East Orange, New Jersey.

      15.    Attached as Exhibit 13 is a copy of Upsala University’s 1990 Upsalite

yearbook, accessed and copied by Perkins Coie LLP staff at the East Orange Public

Library located in East Orange, New Jersey.




                                         4
  Case 3:23-cv-22130-MCR-ZCB      Document 155-1     Filed 03/14/25   Page 5 of 7




      16.    Attached as Exhibit 14 is Upsala University’s commencement program

for the academic year ending in 1987, provided to Perkins Coie LLP library staff by

the archivist at the Swenson Swedish Immigration Research Center at Augustana

College in Rock Island, Illinois, where the program and other Upsala records are

preserved.

      17.    Attached as Exhibit 15 is Upsala University’s commencement program

for the academic year ending in 1988, provided to Perkins Coie LLP library staff by

the archivist at the Swenson Swedish Immigration Research Center at Augustana

College in Rock Island, Illinois, where the program and other Upsala records are

preserved.

      18.    Attached as Exhibit 16 is Upsala University’s commencement program

for the academic year ending in 1989, provided to Perkins Coie LLP library staff by

the archivist at the Swenson Swedish Immigration Research Center at Augustana

College in Rock Island, Illinois, where the program and other Upsala records are

preserved.

      19.    Attached as Exhibit 17 is Upsala University’s commencement program

for the academic year ending in 1990, provided to Perkins Coie LLP library staff by

the archivist at the Swenson Swedish Immigration Research Center at Augustana

College in Rock Island, Illinois, where the program and other Upsala records are

preserved



                                        5
  Case 3:23-cv-22130-MCR-ZCB       Document 155-1     Filed 03/14/25   Page 6 of 7




      20.    Attached as Exhibit 18 are relevant excerpts of the University of

Minnesota 1985-1986 Student-Staff Directory, available at the University of

Minnesota website at https://conservancy.umn.edu/items/e9d2b595-1b72-44fe-

a2ba-eefcdbe3db5f.

      21.    Attached as Exhibit 19 are relevant excerpts of Lanterman’s

transcribed sworn May 2, 2017, deposition testimony in the matter of Lanterman v.

Stillman, Minnesota Department of Human Services, Civil File No. 27-CV-16-

10860, Minn. 4th Jud. Dist. Ct.

      22.    Attached as Exhibit 20 is an email chain ending February 13, 2025,

between Lanterman and Michael Pitkow, Chief of the Springfield Township,

Pennsylvania Police Department.

      23.    Attached as Exhibit 21 is an email chain ending on February 28, 2025,

between Lanterman and Chief Pitkow.

      24.    I spoke by phone with Chief Pitkow on February 27 and February 28,

2025. During those calls, he relayed to me that Lanterman visited the Springfield

Township, Pennsylvania Police Department on February 14, 2025, requesting to see

Lanterman’s personnel file from the time he worked as an officer in the department.

According to Pitkow, Lanterman claimed to have a grave heart condition, and was

instructed by his physician to “get [his] affairs in order.” Lanterman further stated

that he was therefore eager to show his family information about his early career in



                                         6
  Case 3:23-cv-22130-MCR-ZCB        Document 155-1      Filed 03/14/25   Page 7 of 7




law enforcement, and asked if he could take the file with him because he needed to

catch a flight back to Minnesota. Lanterman left the department with his file and

promised to return it.

      25.    I spoke with Chief Pitkow again on March 12, 2025. He told me that,

although he had been requesting Lanterman return his file to the Police Department

since February 27, 2025, he had not received any returned file.


I declare under penalty of perjury that the foregoing is true and correct.



 Dated: March 14, 2025                     /s/ David Watnick
                                           David Watnick (admitted pro hac vice)
                                           DWatnick@perkinscoie.com
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                                           Attorney for Defendant Autarkic
                                           Holdings, Inc. d/b/a Laundrylux




                                          7
